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                                  EXHIBIT 7

                       Schwab Deposition Transcript
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                                                                               Page 1
 1

 2            IN THE UNITED STATES BANKRUPTCY COURT
 3            FOR THE NORTHERN DISTRICT OF ILLINOIS
 4                                EASTERN DIVISION
 5

 6

       In re:                                     ) Case No. 15-01145
 7                                                ) (ABG)
       CAESARS ENTERTAINMENT                      )
 8     OPERATING COMPANY, INC.,                   ) Chapter 11
       et al.,                                    )
 9                                                )
                            Debtors.              )
10     ---------------------------)
11

12

13

14

15

16                    DEPOSITION OF BRADLY SCHWAB
17                            New York, New York
18                      Tuesday, January 16, 2018
19

20

21

22

23     Reported by:
24     KRISTIN KOCH, RPR, RMR, CRR
25     JOB NO. 135595A

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                                           Page 2                                                  Page 3
 1                                                   1
 2                                                   2   A P P E A R A N C E S:
 3                                                   3
 4             January 16, 2018                      4
 5             9:16 a.m.                             5   STORCH AMINI P.C.
 6                                                   6   Attorneys for Earl of Sandwich (Atlantic City)
 7                                                   7   LLC
 8        Deposition of BRADLY SCHWAB, held at       8      2 Grand Central Tower
 9    the offices of Storch Amini P.C., 2 Grand      9      140 East 45th Street
10    Central Tower, 140 East 45th Street, New      10      New York, New York 10017
11    York, New York, before Kristin Koch, a        11   BY: JEFFREY CHUBAK, ESQ.
12    Registered Professional Reporter,             12
13    Registered Merit Reporter, Certified          13
14    Realtime Reporter and Notary Public of the    14   HERBERT SMITH FREEHILLS NEW YORK LLP
15    State of New York.                            15   Attorneys for Bradly Schwab
16                                                  16      450 Lexington Avenue
17                                                  17      New York, New York 10017
18                                                  18   BY: SCOTT S. BALBER, ESQ.
19                                                  19
20                                                  20
21                                                  21
22                                                  22
23                                                  23
24                                                  24
25                                                  25



                                           Page 4                                                  Page 5
 1                                                   1
 2    A P P E A R A N C E S: (Continued)             2   B R A D L Y S C H W A B,
 3                                                   3      called as a witness, having been duly sworn
 4                                                   4      by a Notary Public, was examined and
 5    ORRICK, HERRINGTON & SUTCLIFFE LLP             5      testified as follows:
 6    Attorneys for Whitebox Advisors LLC            6   EXAMINATION BY
 7       51 West 52nd Street                         7   MR. CHUBAK:
 8       New York, New York 10019                    8      Q. Mr. Schwab, have you ever been
 9    BY: AYANNA LEWIS-GRUSS, ESQ.                   9   deposed before?
10                                                  10      A. Yes.
11                                                  11      Q. Can you tell me on how many
12    ALSO PRESENT:                                 12   occasions?
13                                                  13      A. Once.
14    DANNY PHILLIPS, ESQ., Cowen                   14      Q. Can you describe the litigation in
15    JEFFREY C. SIROLLY, ESQ., Earl Enterprises    15   which you were deposed?
16                                                  16      A. It was family related.
17                                                  17      Q. Okay. Can you tell me what you did
18                                                  18   to prepare for today's deposition, if anything?
19                                                  19      A. Met with counsel.
20                                                  20      Q. Is that the counsel sitting next to
21                                                  21   you, Scott Balber?
22                                                  22      A. Correct.
23                                                  23          MR. CHUBAK: I am going to hand you
24                                                  24      what I would ask be marked Exhibit 80.
25                                                  25          (Exhibit 80, Bradly Schwab LinkedIn


                                                                              2 (Pages 2 to 5)
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                                            Page 6                                                  Page 7
 1                 B. Schwab                             1                B. Schwab
 2        printout, marked for identification.)          2       Q. And what were your responsibilities
 3        Q. Is this a copy of your LinkedIn             3   at Triax?
 4    profile?                                           4       A. Both as a restructuring advisor, as
 5        A. It is.                                      5   well as and ultimately eventually buying and
 6        Q. And although the top of the second          6   selling claims.
 7    page is cut off, is it true that you worked at     7       Q. What were your responsibilities at
 8    CRT from November 2011 to May 2016?                8   Debt Acquisition Group?
 9        A. Correct.                                    9       A. Analyzing opportunities to investing
10        Q. And Debt Acquisition Group before          10   in distressed opportunities.
11    that, and Triax Capital Advisors before that?     11       Q. Did your responsibilities include
12        A. Correct.                                   12   the purchase and sale of trade claims?
13        Q. Is it fair to say that you have been       13       A. Yes.
14    in the trade claim business since at least July   14       Q. Was that also the case at CRT?
15    2007?                                             15       A. Correct.
16        A. Give or take, yeah.                        16       Q. And at each of Triax, Debt
17        Q. How did you get into the trade claim       17   Acquisition Group and CRT, did you negotiate
18    business?                                         18   directly with trade creditors in connection
19        A. I don't understand the question,           19   with the purchase and sale of trade claims?
20    like how did I get in. I don't understand.        20       A. Yes.
21        Q. Well, how did you -- what was your         21       Q. And when you entered into --
22    first job where your principal responsibility     22   withdrawn.
23    involved the purchase and sale of trade claims?   23           How did you memorialize agreements
24        A. Probably Triax or somewhere between        24   with trade creditors with whom you entered into
25    Triax and Debt Acquisition Group.                 25   trade claim transactions?

                                            Page 8                                                  Page 9
 1                B. Schwab                              1               B. Schwab
 2       A. Through purchase and sale                    2   agreement with a trade creditor on the basis of
 3    agreements.                                        3   e-mails while at Debt Acquisition Group?
 4       Q. Did you memorialize transactions --          4      A. No idea. I don't remember. It's a
 5    withdrawn.                                         5   long time ago.
 6           (Ms. Lewis-Gruss enters.)                   6      Q. Do you remember having
 7       Q. Did you memorialize transactions             7   entered into-- ever having entered into an
 8    through trade confirmations?                       8   agreement with a trade creditor concerning the
 9       A. Can you explain what you mean by             9   purchase and sale of a claim on the basis of
10    "memorialize"?                                    10   e-mails while at CRT?
11       Q. How did you and the trade creditor          11      A. Do you mean -- what do you mean by
12    decide on the terms of an agreement to sell or    12   "agreement"?
13    purchase a trade claim?                           13      Q. A legally-binding agreement
14       A. It depended on the situation.               14   concerning the purchase and sale of a
15       Q. Can you elaborate?                          15   bankruptcy claim.
16       A. It could be in the form of verbal           16           MR. BALBER: Object to the form of
17    agreements, it could be the form of e-mails, it   17      the question. The witness is not a lawyer
18    could be the form of trade confirmations, it      18      and he is not going to opine on legal
19    could be a form of actual purchase and sale       19      issues.
20    agreement. It depends on the situation.           20      Q. While at Triax, have you ever
21       Q. Had you ever entered into an                21   entered into an agreement with a trade creditor
22    agreement with a trade creditor on the basis of   22   on the basis of a phone call?
23    e-mails while at Triax?                           23      A. I don't remember. At Triax? I
24       A. I don't remember.                           24   don't remember.
25       Q. Had you ever entered into an                25      Q. While at Debt Acquisition Group, had


                                                                                3 (Pages 6 to 9)
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 1                 B. Schwab                             1               B. Schwab
 2    you ever entered into an agreement with a trade    2       Q. Special investments. How many trade
 3    creditor on the basis of a phone call?             3   claims do you think you -- withdrawn.
 4        A. I can't remember.                           4          How many trade claims did your group
 5        Q. While at CRT, had you ever entered          5   enter into during your tenure there?
 6    into an agreement concerning the purchase and      6       A. I don't remember. I don't have any
 7    sale of a bankruptcy claim on the basis of a       7   of those records.
 8    phone call?                                        8       Q. Is it fair to say that it's more
 9        A. Yeah. Yes.                                  9   than a hundred?
10        Q. Can you describe that particular           10       A. I don't remember. Maybe. I don't
11    situation or situations?                          11   know.
12        A. I mean, just parties talking to them       12       Q. How many trade claims did you
13    on the phone and people agree to transactions     13   personally -- withdrawn.
14    and push forward with them.                       14          How many trade claims transactions
15        Q. What did you do if there was a             15   were you personally involved in?
16    disagreement as to what the parties thought       16       A. Again --
17    they discussed? Withdrawn.                        17       Q. Roughly.
18            Were those phone calls recorded?          18       A. Anywhere from one to a hundred, I
19        A. I have -- I mean, I have no idea. I        19   guess, somewhere in there. I don't know.
20    don't know if CRT recorded telephone lines or     20       Q. Was it more than ten?
21    not.                                              21       A. Probably. I don't know.
22        Q. When you moved to Cowen in May 2016,       22       Q. Was it more than twenty?
23    did you move over as the head of the special      23       A. I don't know.
24    situations group?                                 24       Q. Do you think it was under fifty?
25        A. Special investments.                       25       A. Honestly, I don't know.

                                           Page 12                                                Page 13
 1                B. Schwab                              1                B. Schwab
 2       Q. How were those trade claim                   2   it will go to a purchase and sale agreement.
 3    transactions memorialized?                         3   That's how they get done. Every transaction.
 4       A. Any combination of verbal, e-mail,           4       Q. When you agreed to the terms of a
 5    trade confirmation or straight to a document.      5   transaction with a trade claim holder, how did
 6       Q. Do you remember any specific                 6   you memorialize that transaction's terms prior
 7    transactions that were memorialized by e-mail?     7   to closing?
 8       A. No.                                          8       A. It can be verbal, it can be written,
 9       Q. Do you remember any specific                 9   an e-mail, it could be a trade confirmation, it
10    transactions that were memorialized by a phone    10   could be a purchase and sale agreement.
11    call?                                             11       Q. You testified a moment ago that you
12       A. No.                                         12   had no specific recollection of any transaction
13       Q. Is it correct that the transactions         13   being memorialized by e-mail or a phone call
14    that you did enter into while at Cowen were       14   except perhaps the subject transaction.
15    memorialized by either an Assignment of Claim     15           MR. BALBER: Finish your question.
16    Agreement or a written trade confirmation?        16       Q. Is it correct that while at Cowen
17           MR. BALBER: Object to the form of          17   trade claim transactions you entered into were
18       the question.                                  18   memorialized by a written trade confirm or an
19       A. Define "memorialize."                       19   Assignment of Claim Agreement?
20       Q. How did the parties to the                  20           MR. BALBER: Object to the form of
21    transaction decide what the transaction's terms   21       the question. Mischaracterizes the
22    were?                                             22       witness' prior testimony.
23           MR. BALBER: Which transaction? I           23           You can answer.
24       mean -- object to the form of the question.    24       A. I don't remember specifically any of
25       A. To successfully close a transaction         25   the transactions, but that's how they would be


                                                                            4 (Pages 10 to 13)
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 1                 B. Schwab                             1                B. Schwab
 2    done, either verbally, either orally on the        2           While at Cowen, do you recall
 3    telephone or written trade confirmation or         3   entering into an agreement concerning the
 4    purchase and said agreement.                       4   purchase and sale of a bankruptcy claim on the
 5        Q. For the avoidance of doubt, is it           5   basis of a phone call?
 6    correct that you do not recall entering into       6       A. I'm trying to think. Based on price
 7    any transaction while at Cowen -- withdrawn.       7   and size and structure? From the -- I guess my
 8           Do you recall entering into -- ever         8   question being what's entering into an
 9    entering into a claim purchase or sale             9   agreement, being that an agreement is a signed
10    agreement with -- withdrawn.                      10   document, purchase and sale agreement?
11           While at CRT, do you recall ever           11       Q. Is that how you understood a --
12    entering into an agreement with a trade           12       A. Well, to close a purchase and sale
13    creditor on the basis of a phone call?            13   agreement of a claim, you need a purchase and
14        A. I would assume I did. I don't              14   sale agreement. Eventually that's where you --
15    remember specifically.                            15   all transactions will go.
16        Q. Do you have any specific                   16       Q. Can an agreement close on the basis
17    recollection of any transaction entered into on   17   of another written instrument, such as a trade
18    the basis of a phone call?                        18   confirmation?
19        A. I'd have to think about it. It's a         19       A. No.
20    long time ago already. I would assume I did       20       Q. Did Triax Capital Advisors carry
21    somewhere, but I don't recall off the top of my   21   claims that it purchased on its books or did
22    head any specific transaction.                    22   they -- or did it sell claims to third parties?
23        Q. While at Cowen, do you recall              23           MR. BALBER: Object to the form of
24    entering into a transaction with a trade          24       the question.
25    creditor or -- withdrawn.                         25       A. It didn't hold it on its books.

                                           Page 16                                                Page 17
 1                 B. Schwab                             1                B. Schwab
 2        Q. Did Debt Acquisition Group hold             2      Q. Did you tell anyone when you had
 3    claims that it purchased on its books or did it    3   entered into an agreement to purchase a
 4    sell them to third parties?                        4   bankruptcy claim?
 5        A. Both.                                       5      A. Purchase from a booking -- books and
 6        Q. Is that true for CRT as well?               6   records standpoint a signed purchase and sale
 7        A. Yes.                                        7   agreement is executed. It was forwarded to the
 8        Q. Is that also true for Cowen Special         8   middle and back office and they booked all the
 9    Investments?                                       9   trades.
10        A. Yes.                                       10      Q. Was that true for Cowen Group as
11        Q. How did Triax record claims that it        11   well -- for Cowen Special Investments as well?
12    understood it had an agreement to purchase on     12           MR. BALBER: Object to the form of
13    its books and records?                            13      the question.
14        A. I wasn't involved in that.                 14      A. Yes, but I didn't handle any of that
15        Q. How did Debt Acquisition Group             15   at Cowen.
16    record the purchase of claims it thought it       16      Q. To the best of your knowledge, did
17    purchased on its books and records?               17   Cowen Special Investments ever book a trade as
18        A. I wasn't involved in that either.          18   being locked in prior to entry of a purchase
19        Q. Were you involved in that at CRT?          19   and sale agreement?
20        A. Anecdotally. I wasn't in charge of         20           MR. BALBER: Object to the form of
21    the books and records of the business.            21      the question.
22        Q. Did you enter a trade ticket --            22           If you understand what that means,
23        A. Nope.                                      23      you can answer it.
24        Q. -- into a system?                          24      A. Can you repeat it, please.
25        A. Nope.                                      25      Q. To the best of your knowledge, did


                                                                            5 (Pages 14 to 17)
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 1                  B. Schwab                            1               B. Schwab
 2    Cowen ever treat a trade as having been agreed     2          MR. BALBER: Object to the form of
 3    to prior to entry of a purchase and sale           3      the question.
 4    agreement?                                         4      A. I don't know what Gail did.
 5        A. Not to my knowledge.                        5      Q. Did you advise Cowen when a trade
 6        Q. How many people worked under you at         6   claim's agreement terms were agreed to?
 7    Cowen?                                             7      A. So prior -- so I understand from a
 8        A. Two or three, depending on the time.        8   timeline perspective, prior to there being an
 9        Q. Can you tell me who they were?              9   executed purchase and sale agreement?
10        A. John Mori, Gail Rosenblum and Neil         10      Q. Correct.
11    Desai.                                            11      A. I guess sometimes. You know, it
12        Q. Can you tell me what their                 12   wasn't required.
13    respective roles and responsible were?            13      Q. How did you advise Cowen on the
14        A. John Mori was a sourcer slash call         14   occasions that you did?
15    it assistant trader. Neil was an analyst when     15          MR. BALBER: Object to the form.
16    he was there. He was only there four or five      16      What do you mean by "advise Cowen"? He is
17    months. And Gail Rosenblum was middle office,     17      Cowen. I don't understand the question.
18    back office, service provider.                    18          MR. CHUBAK: That's fair.
19        Q. What were Gail's responsibilities          19      A. Advise who?
20    specifically?                                     20      Q. Did you ever instruct Cowen to
21        A. Document close and enter --                21   memorialize the trade on its books and records?
22    facilitate the internal processes of booking      22          MR. BALBER: Same objection.
23    and closing trades.                               23      Q. Prior to entry into an Assignment of
24        Q. Did Gail advise Cowen once a               24   Claim Agreement?
25    trade -- a claim trade's terms were agreed to?    25      A. No.

                                           Page 20                                                Page 21
 1                B. Schwab                              1                 B. Schwab
 2       Q. Are you the founding partner of              2       Q. Do you recognize this document as
 3    Haybeach Partners?                                 3   your January 11th e-mails with Tom Avallone?
 4       A. One of three.                                4       A. If it's from me, it's from me. I
 5       Q. Who are the other two?                       5   guess recognize, I guess, yes.
 6       A. Darius Goldman and Neil Desai.               6       Q. I'd like to refer you to the third
 7       Q. Has Haybeach purchased any trade             7   page, specifically the 12:59 p.m. e-mail
 8    claims since its launch?                           8   towards the bottom.
 9       A. Purchase meaning what? Define.               9       A. Okay.
10       Q. Entered into an Assignment of Claim         10       Q. Sent from Thomas Avallone to Barrett
11    Agreement with a creditor in a bankruptcy case.   11   Mikelberg at TriaxAdvisors.com. The page is
12       A. No.                                         12   Bates stamped CSI-46.
13       Q. Has Haybeach agreed to the terms of         13           Were you forwarded this e-mail by
14    the purchase of any bankruptcy claim without      14   Barrett Mikelberg?
15    regard to whether it's entered into an            15       A. If it's in an e-mail chain, I would
16    Assignment of Claim Agreement?                    16   assume so.
17       A. Yes.                                        17       Q. Do you remember having read this
18       Q. Can you tell me what -- about --            18   e-mail, "may be a seller of my $3.6 million
19       A. It's confidential.                          19   undisputed allowed claim for $2.15 million
20       Q. Does Haybeach work with Whitebox?           20   cash"?
21       A. No.                                         21       A. I don't remember reading it, but
22           (Exhibit 81, e-mail dated January          22   it's here, so -- it's a year ago.
23       11, 2017, Bates stamped Confidential           23       Q. What about the e-mail that followed
24       CSI_00000044 through Confidential              24   that one, that's on the page Bates stamped
25       CSI_00000051, marked for identification.)      25   CSI-45, I'm referring to your e-mail to Thomas


                                                                            6 (Pages 18 to 21)
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 1                  B. Schwab                            1                  B. Schwab
 2    Avallone at 1:59 p.m., do you remember having      2   e-mail that preceded it, the one dated January
 3    sent that e-mail?                                  3   11, 2017, at 2:17 p.m., the text of which
 4        A. No. I assume I did send it, but I           4   actually starts on the page Bates stamped
 5    don't remember sending it.                         5   CSI-45.
 6        Q. Do you remember having received a           6           Do you remember having sent this
 7    response from Thomas Avallone at 2:04 p.m. that    7   e-mail?
 8    says "see below" with the below --                 8        A. I don't remember sending it, but
 9        A. If I have the e-mail in front of me,        9   it's here, it's mine.
10    then I have it. I don't remember seeing it, so    10        Q. I am going to refer you to the
11    I don't recall.                                   11   second paragraph of this e-mail, the part that
12        Q. I am going to refer you to the             12   begins after the dash: "Do you happen to have
13    second to last paragraph of that e-mail, the      13   any support documentation confirming this" --
14    one beginning "moreover, please confirm."         14   this being that Earl Enterprises settled claims
15            Do you remember having asked Thomas       15   with the estate -- "either a settlement
16    Avallone: "It sounds like you are offering the    16   agreement or an allowance
17    paper for sale at $2.15 million or                17   letter/correspondence."
18    approximately 59.72% of the face claim amount.    18           Would you characterize that as a
19    Is that correct?"                                 19   condition to an agreement?
20        A. I don't remember writing the e-mail,       20        A. As due diligence.
21    but it's here, so it's my e-mail.                 21        Q. Would you have entered into --
22        Q. Do you remember Thomas Avallone            22   strike that.
23    responding "yes" to that question?                23           Would you enter into claim trade
24        A. No, I don't remember that.                 24   agreements without regard to whether you know
25                                                      25   whether the claim is allowed?
          Q. I am going to refer you to the

                                           Page 24                                                Page 25
 1                 B. Schwab                             1                B. Schwab
 2        A. Yes.                                        2           MR. BALBER: Object to the form of
 3            MR. BALBER: Object to the form of          3       the question.
 4        the question.                                  4       A. Based on the correspondence. I
 5        Q. Is it fair to describe this as a            5   mean, I don't remember specifically, it's a
 6    condition to any potential agreement with Earl     6   year ago, but based on the correspondence,
 7    of Sandwich?                                       7   correct.
 8            MR. BALBER: Object to the form of          8       Q. Was your ability to conduct
 9        the question.                                  9   diligence material to any transaction?
10        A. It would be due diligence,                 10           MS. LEWIS-GRUSS: Objection.
11    confirmatory.                                     11       A. I don't understand the question.
12        Q. What do you mean "confirmatory"?           12       Q. Would you have entered into a
13        A. You would agree to price in notional       13   transaction without the ability to conduct
14    and the transaction would be conditional upon     14   diligence?
15    confirming that there is a settlement agreement   15       A. No.
16    in terms of size. It's just -- it would be due    16       Q. I am going to refer you to Thomas
17    diligence, it would be confirmatory, not a        17   Avallone's 2:38 p.m. e-mail to you of the same
18    condition to -- it would be a condition to a      18   day towards the bottom of the page Bates
19    transaction at buyer's discretion confirming      19   stamped CSI-44, the e-mail in which he says:
20    what it is. It's due diligence.                   20   "I can easily get a letter from the
21        Q. So when you wrote: "I would have           21   Debtor/Restructuring Officer confirming nature
22    interest at 59.72% subject to confirming the      22   of the claim amount as undisputed and allowed
23    above. Please let me know," were you accepting    23   if we decide to move forward."
24    what you understood to be a prior offer of        24           Do you recall having received this
25    Tom's subject to your confirming the diligence?   25   e-mail?


                                                                            7 (Pages 22 to 25)
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 1                 B. Schwab                             1                B. Schwab
 2        A. No, I don't recall.                         2       A. Bid is my -- me showing you what I
 3        Q. What do you understand Tom to have          3   would pay for something. Offering is what he
 4    meant when he wrote "if we decide to move          4   would do to me.
 5    forward"?                                          5       Q. Were you looking to Thomas to accept
 6        A. I don't -- I can't refer to that. I         6   your bid?
 7    don't remember what I was thinking at the point    7       A. No, I mean, reading through the
 8    in time.                                           8   correspondence, it would be he offered the
 9        Q. I am going to refer you to the              9   paper at -- looking through it now, it would be
10    3:47 p.m. e-mail of the same day, the one that    10   considered he offered the paper at
11    is at the top of the same page, specifically      11   59.72 percent earlier in the earlier e-mails.
12    the part where you wrote: "I would be a buyer     12       Q. Did you ever accept Thomas' prior
13    of your $3.6 million allowed CZR claim at $2.15   13   offer?
14    million of 59.72% of the allowed face amount      14       A. Well, that's what the top e-mail is.
15    subject to (a)," (b), (c), (d).                   15       Q. If that's the case, why did you ask
16            Do you recall having sent this            16   Thomas to "please confirm that you are good
17    e-mail?                                           17   with the above terms"?
18        A. No.                                        18       A. Just verbiage. They were his terms
19        Q. Did you -- sitting here now and            19   from the earlier e-mail.
20    reading this e-mail, do you understand it to be   20       Q. Is it your position that by sending
21    an offer subject to conditions?                   21   this e-mail you accepted Thomas' prior offer?
22        A. It would be a bid subject to               22       A. In terms of moving a transaction
23    conditions.                                       23   forward, in my experience in most instances
24        Q. What's the difference between a bid        24   that would facilitate the conversation to move
25    and an offer?                                     25   a transaction forward, correct.

                                           Page 28                                                Page 29
 1                  B. Schwab                            1                B. Schwab
 2        Q. But this was just a bid? Withdrawn.         2   agreement concerning the purchase and sale of
 3            What do you mean by move the               3   the claim without these conditions attached?
 4    transaction forward?                               4       A. Which conditions?
 5        A. I mean it would go from an e-mail,          5       Q. The ones identified in (a), (b), (c)
 6    as I said, it could be verbal, it could be         6   and (d) of this e-mail.
 7    e-mail, it could go to a trade confirmation, it    7       A. They would all be addressed in the
 8    could go to a purchase and sale agreement.         8   documentation process.
 9    Eventually it would have to get to a purchase      9       Q. Would -- did you negotiate -- I'm
10    and sale agreement. This isn't a                  10   sorry. Withdrawn.
11    transaction -- it's a transaction subject to      11           Would you ever negotiate the terms
12    negotiating the final terms and conditions of a   12   of a purchase and sale agreement?
13    transaction.                                      13       A. Yes.
14        Q. Did Thomas ever agree to any of the        14       Q. Is that true for transactions in
15    conditions set forth in this e-mail?              15   which the claim was not held by Cowen, but
16        A. I don't -- I mean, that's the only         16   instead sold to a third party?
17    e-mails I have sitting in front of me. I don't    17       A. Yes.
18    have any other e-mail after this one, so...       18       Q. Do you recall ever having waived the
19        Q. Were these conditions material to          19   conditions set forth in your 3:47 p.m. e-mail?
20    any deal you would have made with Earl of         20       A. In general or in specific to this?
21    Sandwich?                                         21       Q. Specific to this.
22            MR. BALBER: Object to the form of         22       A. I wasn't involved in anything post
23        the question.                                 23   the e-mail correspondence. So I was not
24        A. I don't understand the question.           24   involved in any of that process at Cowen in
25        Q. Would you have entered into an             25   this specific instance.


                                                                            8 (Pages 26 to 29)
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 1                 B. Schwab                            1                B. Schwab
 2       Q. The following paragraph reads:              2       A. I don't remember sending any of the
 3    "Please confirm that you are good with the        3   e-mails. I just -- I have the correspondence
 4    above terms and I will forward you a purchase     4   in front of me. It's a year ago.
 5    and sale agreement for review."                   5       Q. I am going to refer you to the first
 6           Do you recall Tom ever having              6   sentence of the e-mail. "Thomas -- as a
 7    confirmed that he was good with the above         7   follow-up to my below email" -- that's a
 8    terms?                                            8   reference to the 3:47 e-mail we just
 9       A. Based on the e-mail sitting in front        9   discussed -- "and our quick conversation."
10    of me, no, I don't remember.                     10           Do you recall when that conversation
11           (Exhibit 82, e-mail dated January         11   took place?
12       12, 2017, Bates stamped Confidential          12       A. I don't. All I know is we had one.
13       CSI_00000103 through Confidential             13   I don't remember the specifics regarding it
14       CSI_00000111, marked for identification.)     14   or --
15       Q. I have asked that this document be         15       Q. Do you know what -- I'm sorry.
16    marked Exhibit 82.                               16       A. I don't know when it took place or
17           Do you recognize this as your             17   what it consisted of, but there was a
18    correspondence from the following day or the     18   conversation.
19    morning of the following day specifically?       19       Q. Do you know if Cowen Special
20       A. If it says me and it's my e-mails, I       20   Investments records its phone calls?
21    guess yeah, but I don't remember other than      21       A. I don't. I don't think it does, but
22    seeing the document.                             22   I don't.
23       Q. Do you recall having sent the              23       Q. I am going to refer you to the
24    e-mail -- I'm sorry -- the 8:34 a.m. e-mail at   24   following phrase in that -- clause in that same
25    the bottom of the first page of this exhibit?    25   sentence: "My acceptance of your offer is good

                                          Page 32                                                Page 33
 1                 B. Schwab                            1                 B. Schwab
 2    through 11am eastern time, January 12th."         2   paragraph, the second sentence in particular,
 3           Which offer were you referring to          3   the one which begins "if this is a transaction
 4    when you said "my acceptance of your offer"?      4   Planet Hollywood would like to pursue."
 5       A. His original -- I guess I was               5      A. Uh-huh.
 6    referring to his original at 59.72 percent of     6      Q. Is it correct that you understood at
 7    the 2.15 million.                                 7   that point in time that you did not have an
 8       Q. Was "my acceptance" -- withdrawn.           8   agreement concerning the terms of a purchase
 9           When you wrote "my acceptance of           9   and sale agreement with Earl of Sandwich?
10    your offer is good through 11am eastern time     10           MR. BALBER: Object to the form of
11    today," was that a condition to any -- to        11      the question.
12    entering into any transaction with Earl of       12      A. As I said, I don't remember
13    Sandwich?                                        13   specifically at that point in time. All I can
14       A. I don't know if it's a condition or        14   refer to is what's written in front of me.
15    an expiration.                                   15      Q. Is it fair to say that you wouldn't
16       Q. Would that be an expiration of your        16   have said "if this is a transaction Planet
17    bid?                                             17   Hollywood would like to pursue" if you
18       A. It could be interpreted that way.          18   understood you had a deal at that point in
19       Q. And what did you expect Mr. Avallone       19   time?
20    to do to prevent the bid from expiring?          20           MR. BALBER: Object to the form of
21       A. I don't know if I expected anything        21      the question.
22    other than either he would -- we would get       22      A. It's just words. I mean, I think
23    somewhere and push forward or we wouldn't push   23   there is a transaction based on 59.72 percent
24    forward.                                         24   of 2.15 million.
25       Q. I am going to refer you to the next        25      Q. Based on the e-mails that we have


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 1                 B. Schwab                             1                B. Schwab
 2    reviewed so far, did you understand Cowen to       2   contents of the conversation.
 3    have had an agreement with Earl of Sandwich        3       Q. I am going to refer you to the
 4    concerning the purchase and sale of the            4   9:47 a.m. e-mail that precedes it on the same
 5    bankruptcy claim?                                  5   page in which Thomas Avallone writes to you:
 6       A. Can you define "agreement"?                  6   "Please forward draft document."
 7       Q. A mutual understanding concerning            7           Do you remember having received this
 8    the purchase and sale of the bankruptcy claim      8   e-mail?
 9    whose terms were defined -- under defined          9       A. I don't recall receiving it, but
10    terms.                                            10   it's here.
11       A. I would say an understanding to             11       Q. Sitting here today, what did you
12    employ best efforts to move forward to see if     12   understand this response to mean?
13    you could get to a document that's mutually       13       A. That there is an understanding to
14    acceptable.                                       14   push forward all subject to figuring out a
15       Q. Is that based solely on Thomas'             15   purchase and sale agreement, which is subject
16    2:04 p.m. e-mail on the third page of the -- of   16   to negotiation based on the terms and
17    Exhibit 81?                                       17   conditions that were listed earlier.
18            MR. BALBER: Object to the form of         18       Q. Is it possible that Tom was
19       the question.                                  19   responding to your e-mail -- to the second
20       A. I guess it is. I mean, if you are           20   paragraph of your 3:47 p.m. e-mail "please
21    just referring to an e-mail, I guess.             21   confirm that you are good with the above terms
22       Q. Do you remember having spoken with          22   and I will forward you a purchase and sale
23    Thomas Avallone?                                  23   agreement for review"?
24       A. I remember speaking -- I know there         24           MR. BALBER: Object to the form of
25    was a conversation. I don't remember the          25       the question.

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 1                B. Schwab                              1                B. Schwab
 2        A. You would have to ask him. You              2      A. No. Not that I know. And this is
 3    would have to ask Tom.                             3   Thursday. No, I don't believe there is.
 4        Q. Did you understand Thomas Avallone's        4      Q. You testified earlier that Cowen
 5    e-mail "please forward draft document" to be an    5   Special Investments did not record bankruptcy
 6    acceptance of your bid?                            6   claim trades absent the existence of an
 7        A. I don't remember, but in convention         7   Assignment of Claim Agreement; is that correct?
 8    that would be yes, that people would request       8           MR. BALBER: Objection.
 9    copies of draft documents to review to push        9      Mischaracterizes the witness' prior
10    forward with a transaction.                       10      testimony.
11        Q. In your experience, has a potential        11           You can answer.
12    counterparty or counterparty ever accepted a      12      A. We did not put anything on the books
13    bid by asking for a draft document?               13   and records until there were signed purchase
14        A. Yes.                                       14   and sale agreements.
15        Q. In your experience, has a potential        15      Q. On January 12 did you instruct --
16    counterparty ever accepted a bid -- withdrawn.    16   withdrawn.
17            Where was Gail working at this time?      17           Following this e-mail exchange, did
18        A. Physically?                                18   you do anything to ensure that this claim trade
19        Q. Physically.                                19   was reflected on Cowen's books and records?
20        A. In -- in relation to where I was           20      A. After the correspondence I had I
21    sitting?                                          21   wasn't involved in the transaction ever again.
22        Q. Yes.                                       22      Q. Do you know who was involved?
23        A. In a cube outside my office.               23      A. I would -- I mean, from the
24        Q. There was no time zone difference          24   standpoint of Gail was managing the process and
25    between you guys?                                 25   then it went from there.


                                                                          10 (Pages 34 to 37)
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 1                 B. Schwab                              1                 B. Schwab
 2       Q. Do you know if Gail did anything to           2        A. No, not that I -- I'm not party to
 3    ensure that the trade was reflected on the          3   it, so...
 4    books and records of Cowen Special Investments?     4        Q. Do you understand that Whitebox has
 5       A. Not that I'm aware of, just because           5   taken the position in this litigation that this
 6    you wouldn't put it on the books and records        6   is the instrument pursuant to which the Earl of
 7    unless there is an executed purchase and sale       7   Sandwich claim was conveyed to Whitebox?
 8    agreement.                                          8             MR. BALBER: Maybe you should ask
 9       Q. Did Thomas ever tell you that any             9        him a foundational question like does he
10    transaction with Earl would be subject to the      10        have any idea what this litigation is
11    approval of Robert Earl?                           11        about. I mean, that's kind of a pretty
12       A. I don't remember. I only know there          12        specific premise you are putting on a
13    was a conversation which I don't remember the      13        non-party witness. So object to the form
14    contents of.                                       14        of the question. No foundation.
15       Q. Did Thomas ever advise you that he           15        A. It would be a trade confirmation via
16    was a member of the Official Committee of          16   e-mail.
17    Unsecured Creditors in the Caesars Chapter 11      17        Q. Was it Gail's practice to not copy
18    cases?                                             18   you on trade confirmations sent in connection
19       A. I don't remember.                            19   with bankruptcy claim transactions?
20           (Exhibit 83, e-mail dated January           20        A. It depended.
21       12, 2017, Bates stamped Confidential            21        Q. Did you or Gail ever discuss the
22       CSI_00000112 through Confidential               22   trade confirmation concerning the Earl claim
23       CSI_00000122, marked for identification.)       23   between Cowen Special Investments and Whitebox
24       Q. Do you recognize this document? I            24   Advisors?
25    am referring to the first page only.               25        A. I don't remember.

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 1                  B. Schwab                             1               B. Schwab
 2             MR. CHUBAK: Can we take a break.           2   Mr. Avallone that "we" -- I'm sorry.
 3             (Recess was taken from 10:09 to            3   Withdrawn.
 4         10:16.)                                        4          At the bottom of this e-mail Gail
 5             MS. LEWIS-GRUSS: Whitebox joins in         5   Rosenblum states that "we would be happy to
 6         any objections made to the questions posed     6   answer any questions you may have."
 7         during today's deposition, specifically the    7          Standing here today, sitting here
 8         questions asked by Mr. Chubak on behalf of     8   today, do you understand that "we" to be a
 9         his client, Earl of Sandwich of Atlantic       9   reference to you and her?
10         City.                                         10      A. No, "we" would be a reference to
11    BY MR. CHUBAK:                                     11   Cowen.
12         Q. Do you remember ever seeing a copy         12      Q. Do you recall ever having spoken to
13    of Exhibit 83 prior to today?                      13   Thomas Avallone following receipt of this
14         A. I don't recall ever seeing it.             14   e-mail?
15             (Exhibit 84, e-mail dated January         15      A. Not that I remember, no.
16         12, 2017, Bates stamped Confidential          16          MR. CHUBAK: I'd like to mark this
17         CSI_00000214 through Confidential             17      as 85.
18         CSI_00000224, marked for identification.)     18          (Exhibit 85, e-mail dated January
19         Q. Do you recall having received this         19      12, 2017, Bates stamped Confidential
20    e-mail?                                            20      CSI_00000242 through Confidential
21         A. I don't remember receiving it, but         21      CSI_00000253, marked for identification.)
22    it's here, so...                                   22      Q. Do you recall ever having seen this
23         Q. This is an e-mail from Gail                23   e-mail?
24    Rosenblum to Thomas Avallone dated January 12,     24      A. No, I don't.
25    2017 at 1:24 p.m. At the bottom she asks           25      Q. And by "this e-mail" I am referring


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 1                 B. Schwab                             1                 B. Schwab
 2    to the top e-mail on the first page of this        2       CSI_00000316, marked for identification.)
 3    exhibit.                                           3       Q. Do you recall ever having received
 4        A. No.                                         4   this e-mail?
 5        Q. The second sentence of this e-mail          5       A. I don't.
 6    reads: "Brad and I are available" -- and this      6       Q. And by "this e-mail" I am referring
 7    e-mail being one sent by Gail Rosenblum to         7   to the top e-mail on -- of the first page of
 8    Thomas Avallone copying you. It reads: "Brad       8   this exhibit.
 9    and I are available by phone and email to          9       A. No, I don't recall directly, no.
10    discuss the claim and process."                   10       Q. The first sentence of this e-mail
11            Do you recall having spoken to            11   states: "I wanted to follow up to our call
12    Thomas Avallone by phone or communicating with    12   late Friday."
13    him by e-mail later that day?                     13           Do you recall having -- ever having
14        A. I don't remember.                          14   been on a phone call with Thomas Avallone on
15        Q. Do you remember having spoken to           15   the referenced Friday?
16    Thomas Avallone by phone or communicating with    16       A. I do not.
17    him by e-mail following January 12, 2017?         17           MR. CHUBAK: Can you mark this 87.
18        A. I don't believe I spoke to him             18           (Exhibit 87, e-mail dated January
19    ever -- no, I don't think there was any           19       17, 2017, Bates stamped Confidential
20    communication, to the best of my knowledge. I     20       CSI_00000344 through Confidential
21    don't remember.                                   21       CSI_00000356, marked for identification.)
22            MR. CHUBAK: Can you mark this 86.         22       Q. Do you recall ever having seen this
23            (Exhibit 86, e-mail dated January         23   e-mail? And by "this e-mail" I am specifically
24        16, 2017, Bates stamped Confidential          24   referring to the top e-mail on the page Bates
25        CSI_00000304 through Confidential             25   stamped CSI underscore 344.

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 1                 B. Schwab                             1                  B. Schwab
 2        A. I don't remember receiving it, no.          2   has been no response from Thomas" in which Gail
 3    I am just CC'd on it, so...                        3   writes: "I can send one more email and write
 4        Q. I am going to refer you to the first        4   we have allocated funds for this transaction."
 5    sentence of the e-mail: "I wanted to follow up     5           Is it true that Cowen Special
 6    to the message I left with Laurie this             6   Investments allocated funds for a potential
 7    afternoon."                                        7   transaction with Earl of Sandwich?
 8            Did you -- do you recall having            8           MS. LEWIS-GRUSS: Objection.
 9    heard -- strike that.                              9      A. I don't -- you would have to ask
10            Do you have knowledge of what             10   her. I don't -- I don't know what they did. I
11    message Gail left with Laurie that afternoon?     11   mean, there is a balance sheet available at the
12        A. No.                                        12   firm, so I don't -- I don't know what they did.
13            MR. CHUBAK: Can you mark this as          13   She wrote the e-mail. I didn't.
14        88.                                           14      Q. Is it your testimony today that as
15            (Exhibit 88, e-mail dated January         15   head of Cowen Special Investments you did not
16        18, 2017, Bates stamped Confidential          16   know whether Cowen Special Investments had
17        CSI_00000398 through Confidential             17   allocated funds for bankruptcy claim purchases?
18        CSI_00000400, marked for identification.)     18           MR. BALBER: Object to the form of
19        Q. I am going to refer you -- I'm             19      the question. Is it your testimony
20    sorry.                                            20      yesterday or tomorrow too or just today?
21            Do you recall ever having seen this       21      Go ahead. I'm joking.
22    e-mail?                                           22      A. In general or in this specific case?
23        A. I don't.                                   23   I don't understand the question.
24        Q. I am going to refer you to the             24      Q. Is it your testimony today that
25    second sentence of this e-mail beginning "there   25   Cowen Special Investments had allocated


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 1                B. Schwab                             1                B. Schwab
 2    funds --                                          2       today.
 3       A. I don't -- I don't believe -- I             3       A. That she had not heard back.
 4    don't know.                                       4           MR. CHUBAK: Mark this 89.
 5       Q. I am going to refer you to the last         5           (Exhibit 89, e-mail dated January
 6    phrase in that same sentence: "I can send one     6       18, 2017, Bates stamped Confidential
 7    more email and write" -- "and ask him to          7       CSI_00000401 through Confidential
 8    confirm that he intends/does not intend to        8       CSI_00000403, marked for identification.)
 9    proceed, although it seems obvious."              9       Q. Do you recall having sent the e-mail
10           Do you recall having received that        10   at the top of the first page of this exhibit,
11    message from Gail?                               11   Bates stamped CSI underscore 401?
12       A. As I said, I don't recall ever             12       A. I do not.
13    seeing the e-mail, so -- I would assume I did    13       Q. You testified earlier today that you
14    receive it. This is a year ago. I don't          14   understood there to have been an agreement
15    remember.                                        15   based on your acceptance of Thomas' prior bid;
16       Q. What do you think Gail meant when          16   is that correct?
17    she said it seemed obvious?                      17       A. An understanding to move forward and
18       A. Again, I don't -- I mean, at the           18   explore the possibility subject to getting to a
19    point in time or just reading through the        19   final transaction document, purchase and sale
20    correspondence now? I don't understand the       20   agreement.
21    question.                                        21       Q. If that's correct, can you tell me
22       Q. What do you think Gail meant sitting       22   why you said in the third paragraph of this
23    here today?                                      23   e-mail that the seller had disappeared and
24           MR. BALBER: Object to the form of         24   there is most likely no transaction?
25       the question. I don't think Gail is here      25       A. You can't close a transaction with

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 1                 B. Schwab                            1                 B. Schwab
 2    someone who doesn't communicate back with you.    2      A. Again, "transaction" meaning what?
 3        Q. Was the transaction referenced in          3   Like there was a closed trade?
 4    that sentence ever documented?                    4      Q. No.
 5            MR. BALBER: Object to the form of         5      A. You need a purchase and sale
 6        the question.                                 6   agreement to have a closed transaction, so...
 7        A. Define "documented."                       7      Q. Do you believe that an agreement
 8        Q. Reduced to paper.                          8   concerning the potential sale of Earl of
 9        A. In what capacity? E-mail, verbal,          9   Sandwich's Caesars claim was ever documented?
10    purchase and sale agreement, trade confirm? I    10           MS. LEWIS-GRUSS: Objection.
11    mean, in what capacity? I don't understand the   11           MR. BALBER: You can answer.
12    question.                                        12      A. Based on the e-mail correspondence
13        Q. Was this transaction ever documented      13   an understanding to move forward and, you know,
14    by a signed purchase and sale agreement?         14   use a best efforts basis to get to a
15        A. Between Earl of Sandwich and Cowen?       15   transaction document.
16        Q. Correct.                                  16      Q. You testified earlier that you don't
17        A. No.                                       17   recall having spoke -- the substance of any
18        Q. Was it ever documented by a written       18   conversation you may have had with Thomas
19    trade confirmation?                              19   Avallone.
20        A. An executable trade confirmation?         20           Is it your testimony today that any
21    No. Not that I'm aware of, no.                   21   agreement between Cowen Special Investments and
22        Q. Do you believe that any transaction       22   Earl of Sandwich (Atlantic City) LLC was
23    between Cowen Special Investments and Earl of    23   documented solely by e-mails exchanged between
24    Sandwich (Atlantic City) LLC was documented at   24   you and Mr. Avallone?
25    all?                                             25      A. Again, the question being a closed


                                                                          13 (Pages 46 to 49)
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 1                 B. Schwab                             1               B. Schwab
 2    transaction? No. An understanding to push          2   twelve-page document.
 3    forward with the transaction, I believe there      3      Q. Did Cowen Special Investments --
 4    was.                                               4   withdrawn.
 5        Q. When you say "understanding," do you        5          Would you have required an indemnity
 6    mean negotiations over the terms of the            6   under any such agreement?
 7    potential bankruptcy claim trade?                  7      A. I don't know.
 8            MR. BALBER: Object to the form of          8      Q. Would any such agreement have
 9        the question.                                  9   included representations and warranties?
10        A. "Terms" is vague, right? Terms can         10      A. Yes.
11    be many things in a transaction. What terms?      11      Q. Would any such agreement include a
12        Q. If you believed you had an                 12   Power of Attorney provision?
13    understanding to push forward with the            13      A. It depends.
14    transaction, why were you asking Thomas to        14      Q. Can you tell me what it depends on?
15    agree -- withdrawn.                               15          MR. BALBER: Object to the form of
16            What would have been the material         16      the question.
17    terms of a transaction you entered into with      17      A. It's totally transaction specific.
18    Earl of Sandwich?                                 18   There is no standard document. Every
19            MR. BALBER: Object to the form of         19   transaction is different.
20        the question.                                 20      Q. Would any transaction with Earl of
21        A. I'd have to look at the specifics to       21   Sandwich (Atlantic City) LLC have required an
22    the claim itself, but eventually we would get     22   indemnity provision?
23    to a signed purchase and sale agreement which     23      A. I don't know. I don't know.
24    would be inclusive of all -- addressing any and   24      Q. Would you have required that Earl of
25    all terms and conditions. Right? It's a           25   Sandwich (Atlantic City) LLC make

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 1                 B. Schwab                             1                B. Schwab
 2    representations and warranties in connection       2       Q. I am going to refer you to the top
 3    with a potential transaction concerning the        3   two e-mails on the page stamped CSI underscore
 4    sale of its bankruptcy claim in Caesars?           4   424.
 5       A. Possibly. I don't know.                      5           Do you recall having sent the e-mail
 6       Q. Would you have required that Earl of         6   time stamped 7:51 a.m.?
 7    Sandwich (Atlantic City) LLC give Cowen Special    7       A. I do not.
 8    Investments a Power of Attorney or limited         8       Q. With respect to Gail's e-mail time
 9    Power of Attorney under any --                     9   stamped 7:58 a.m., what do you think she meant
10       A. Quite possibly. I don't know.               10   when she said that she made every effort but
11       Q. Had you discussed any of an                 11   doubts that he was ever a serious seller?
12    indemnity, representations and warranties or      12       A. You would have to ask her. I don't
13    Power of Attorney with Earl of Sandwich           13   know what she meant, I mean, other than she
14    Atlantic City?                                    14   tried her best to get in touch with him.
15       A. I never spoke -- I don't recall ever        15           (Exhibit 91, e-mail dated February
16    speaking with Earl of Sandwich about any          16       7, 2017, Bates stamped Confidential
17    agreement, so the answer --                       17       CSI_00000531 through Confidential
18       Q. Do you recall ever having spoken            18       CSI_00000536, marked for identification.)
19    with Thomas Avallone about an indemnity or        19       Q. I am going to refer you to the top
20    representations or warranties --                  20   two e-mails on the page stamped CSI underscore
21       A. I do not.                                   21   531. What do you think -- let me start --
22            (Exhibit 90, e-mail dated January         22   withdrawn.
23       18, 2017, Bates stamped Confidential           23           Who is Jillian Bottge?
24       CSI_00000424 through Confidential              24       A. She is a salesperson who covers
25       CSI_00000427, marked for identification.)      25   Whitebox.


                                                                          14 (Pages 50 to 53)
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 1                 B. Schwab                             1                 B. Schwab
 2       Q. When you say "covers Whitebox," what         2           MS. LEWIS-GRUSS: Misstates
 3    do you mean by that?                               3       Whitebox's testimony.
 4       A. She is their account representative          4       A. Can you repeat the question.
 5    at Cowen.                                          5       Q. Whitebox testified that when it
 6       Q. What do you think she meant when she         6   received the written confirm from Gail on
 7    wrote "Whitebox wondering if we have given earl    7   January 12, 2017, that it was confident Cowen
 8    notice"?                                           8   Special Investments had entered into a mirror
 9            MR. BALBER: Object to the form of          9   trade confirmation with Earl of Sandwich
10       the question.                                  10   (Atlantic City) LLC.
11       A. You would have to ask -- I don't            11           Was it your practice to enter into a
12    know. You would have to ask her.                  12   trade confirm with a bankruptcy claim seller
13       Q. Whitebox has testified that when it         13   prior to sending a trade confirmation to
14    received the written confirm from Gail on         14   Whitebox?
15    January 12th, 2017, that it was confident that    15           MR. BALBER: Object to the form of
16    Cowen Special Investments had entered into a      16       the question.
17    mirror confirm with Earl of Sandwich (Atlantic    17           MS. LEWIS-GRUSS: Same objection.
18    City) LLC.                                        18       A. In general -- I don't understand --
19            Was it Cowen Special Investments'         19       Q. In general.
20    practice or your practice to enter into a         20       A. In general that -- I wasn't involved
21    mirror confirm with a bankruptcy claim seller     21   in any of the correspondence with Whitebox, so
22    prior to entering into a confirm with Whitebox?   22   I can't attest to anything that was done with
23            MS. LEWIS-GRUSS: Objection.               23   Whitebox. I wasn't involved in any of the
24            MR. BALBER: Object to the form of         24   conversations or correspondence.
25       the question.                                  25       Q. Have you ever sent or been copied on

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 1                 B. Schwab                             1                B. Schwab
 2    trade confirmations sent from Cowen Special        2   general?
 3    Investments to Whitebox?                           3       Q. In general.
 4       A. Not that I recall, unless -- I don't         4       A. The answer is I would assume yes, we
 5    believe so, no.                                    5   entered into trade confirms.
 6       Q. Do you recall ever having entered            6       Q. Do you recall approximately how many
 7    into a written trade confirmation with a           7   bankruptcy claim trades Cowen Special
 8    bankruptcy claim seller while as head of Cowen     8   Investments entered into with Whitebox in 2016?
 9    Special Investments LLC?                           9       A. No.
10       A. Meaning did I negotiate or I entered        10       Q. Was it more than ten?
11    into? Because I don't enter into any              11       A. I have no idea.
12    agreements at Cowen Special Investments. I am     12       Q. Do you recall approximately how many
13    not a signatory when I was there.                 13   bankruptcy claim trades Cowen Special
14       Q. Which persons are signatories at            14   Investments did with Whitebox Advisors in 2017?
15    Cowen Special Investments?                        15       A. No.
16       A. Brian Seyfried and, I don't know,           16       Q. Was it more than ten?
17    was it Owen? Owen Littman, I guess, Brian         17       A. I don't know. I don't remember. I
18    Seyfried.                                         18   doubt it, but I don't know.
19       Q. Do you know if they ever entered            19       Q. Did Cowen Special Investments --
20    into written trade confirmations with potential   20   strike that.
21    bankruptcy claim sellers prior to Cowen Special   21           Do you recall having sent the e-mail
22    Investments sending a trade confirmation to       22   at the top of Exhibit 91 time stamped
23    Whitebox with respect to the purchase and sale    23   10:09 a.m.?
24    of q bankruptcy claim?                            24       A. I don't remember sending it, no.
25       A. This specific bankruptcy claim or in        25       Q. Standing here -- sitting here today,


                                                                          15 (Pages 54 to 57)
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 1                B. Schwab                              1                B. Schwab
 2    why do you think you wrote Whitebox purchase       2       A. I don't recall ever making any
 3    always subject to execution of trade confirm       3   specific anything to Whitebox.
 4    with upstream?                                     4       Q. Is the purpose of making any
 5       A. Our standard documentation, which I          5   transaction subject to execution of a deal with
 6    don't know what was communicated to Whitebox       6   upstream to protect Cowen? Strike that.
 7    other than now seeing the e-mail, is subject to    7           What is the purpose of making any
 8    completing -- a downstream transaction is          8   sale to Whitebox subject to execution of a
 9    subject to successfully closing an upstream.       9   transaction with upstream?
10    That's standard in our documentation.             10       A. To manage a mismatch in terms of
11       Q. And just to make the record clear,          11   having a buyer but not having a seller, and
12    what do you mean by downstream and upstream?      12   that's not Whitebox specific, that's in
13       A. Upstream would be the original              13   general.
14    holder or the seller to Cowen, and then Cowen     14       Q. What do you mean by "mismatch"?
15    to a buyer would be the downstream.               15       A. That you have a buyer but not have a
16       Q. Do you know why transactions with           16   seller or vice versa.
17    Whitebox are subject to execution of a            17       Q. What would happen if you had a buyer
18    transaction with upstream?                        18   but not a seller in the absence of this
19           MS. LEWIS-GRUSS: Objection.                19   condition?
20       A. To the best of my recollection, most        20           MR. BALBER: Object to the form of
21    transactions are subject to that, if not all.     21       the question.
22       Q. As head of Cowen Special                    22       A. You don't -- I mean, to close a
23    Investments, did you require that transactions    23   transaction you don't necessarily need a trade
24    with Whitebox be subject to execution of a        24   confirm executed on the upstream to get a
25    transaction with upstream?                        25   transaction closed, right, so, I mean, you can

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 1                 B. Schwab                             1                B. Schwab
 2    e-mail, you can skip trade confirms, go            2   with Brian Seyfried selling whatever interest
 3    straight to documentation. It can take any         3   Cowen Special Investments had in Earl of
 4    number of different mechanics.                     4   Sandwich's Caesars claim to Whitebox?
 5        Q. In the absence of this condition,           5       A. No.
 6    would Cowen have legal exposure to Whitebox?       6           MR. CHUBAK: Let's take a short
 7            MR. BALBER: Object -- finish the           7       break.
 8        question. Sorry.                               8           (Recess was taken from 10:53 to
 9            MR. CHUBAK: Withdrawn.                     9       11:01.)
10            Mark this 92.                             10   BY MR. CHUBAK:
11            (Exhibit 92, Assignment and Release       11       Q. Do you recall having spoken with
12        Agreement, Bates stamped WBA-0000145          12   anyone at Cowen Special Investments' parent
13        through WBA-0000157, marked for               13   company or companies about the Earl trade
14        identification.)                              14   following January 2017?
15        Q. Do you recognize this agreement?           15           MR. BALBER: And I am going to
16        A. No.                                        16       caution you, if any conversations were in
17        Q. Sitting here today, do you have any        17       the presence of either internal counsel or
18    idea why your name is listed underneath the       18       external counsel, you are instructed not to
19    part marked "Seller"?                             19       answer.
20        A. No, other than that's just a               20       A. Not that I recall, other than -- I
21    correspondence that was on all the standard       21   wasn't involved in anything, so just getting
22    documents, point of contact.                      22   updates.
23        Q. Did you ever discuss with Brian            23       Q. Did you ever speak with Brian
24    Seyfried -- withdrawn.                            24   Seyfried about the Earl claim?
25            Do you recall ever having discussed       25       A. Not that I -- I mean, I would assume


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 1                 B. Schwab                             1                B. Schwab
 2    so, but not that I recall specifically, no.        2      Q. You testified a moment ago that you
 3       Q. Without telling me anything                  3   weren't involved with anything concerning the
 4    privileged, did you ever speak with Owen           4   Earl claim, just getting updates.
 5    Littman about the Earl claim?                      5          What do you mean by just getting
 6            MR. BALBER: You are instructed not         6   updates?
 7       to answer.                                      7      A. Meaning that I was aware that there
 8            MR. CHUBAK: I am not asking --             8   were conversations going on between Whitebox
 9            MR. BALBER: You are instructed not         9   and Cowen that I wasn't party to and just being
10       to answer.                                     10   told periodically.
11            Next question.                            11      Q. Did you speak with Jillian Bottge
12            MR. CHUBAK: I am not asking about         12   about the status of the Earl trade following
13       any privileged communication. I am just        13   January 2017?
14       asking if he spoke with him.                   14      A. Not that I remember.
15            MR. BALBER: Just move on. You are         15      Q. What were the conversations that you
16       wasting everybody's time at a ridiculous       16   were getting updates on?
17       rate. Move on. Next question. I am not         17      A. That I know there was an ongoing
18       letting him answer a question about his        18   conversation between Whitebox and Cowen and
19       conversation with the general counsel of       19   that was the essence of it. I don't know what
20       the company. It's just not happening.          20   was progressing.
21       Next question.                                 21      Q. Who were you getting updates from?
22            MR. CHUBAK: I am not asking about a       22      A. Brian Seyfried and Danny
23       privileged communication. I am asking if       23   periodically.
24       he spoke with him.                             24      Q. What did Brian tell you in
25            MR. BALBER: Good. Next question.          25   connection with those updates?

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 1                 B. Schwab                             1                B. Schwab
 2           MR. BALBER: Anything he told you in         2   to Mr. Mikelberg dated January 11 at 12:59 p.m.
 3       which either internal or outside counsel        3   Do you see that?
 4       was privy, you are instructed not to            4       A. Yes.
 5       answer.                                         5       Q. And this e-mail was forwarded to you
 6       A. Other than that it was an ongoing            6   by Mr. Mikelberg; is that correct?
 7    conversation, that's it.                           7       A. Correct.
 8       Q. What was the conversation?                   8       Q. When you received this e-mail from
 9       A. That there was an ongoing                    9   Mr. Mikelberg, did you understand that
10    conversation between Whitebox and Cowen. The      10   Mr. Avallone was offering a Caesars claim for
11    specifics, no, I wasn't privy to any of the       11   sale at the -- for $2.15 million cash?
12    specifics of the conversations.                   12           MR. CHUBAK: Objection. Calls for a
13           MR. CHUBAK: We are done.                   13       legal conclusion.
14           MR. BALBER: Great.                         14       A. My understanding that the seller was
15    EXAMINATION BY                                    15   willing to engage into a conversation at
16    MS. LEWIS-GRUSS:                                  16   approximately those terms and conditions.
17       Q. Mr. Schwab, if you could take out           17       Q. And as you testified, Mr. Mikelberg
18    the document previously marked as Exhibit 82, I   18   forwarded to you, and you then responded on the
19    would appreciate that.                            19   same day at 1:59 p.m.; is that correct?
20           Do you have that document in front         20       A. According to the e-mails, correct.
21    of you?                                           21       Q. And the e-mail at the top of this
22       A. I do.                                       22   page appears to be an e-mail that you sent to
23       Q. Can you turn to the page that's             23   Mr. Avallone at 1:59 p.m. on January 11, 2017;
24    stamped at the bottom 106, and at the bottom of   24   is that correct?
25    the page there is an e-mail from Mr. Avallone     25       A. So it appears.


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 1                  B. Schwab                            1                B. Schwab
 2       Q. Do you have any reason to think you          2   asked him if he was offering the paper for sale
 3    didn't send it?                                    3   at 2.15 million or approximately 59.72 percent
 4       A. No.                                          4   of the face claim amount and he said "yes." Do
 5       Q. And you asked in this e-mail                 5   you see that?
 6    Mr. Avallone if he was offering the paper for      6       A. Back on -- just for my
 7    sale at $2.15 million or approximately             7   clarification, on the -- at the 1:59 p.m.
 8    59.72 percent of the face claim amount; is that    8   e-mail?
 9    correct?                                           9       Q. So at 2:04 Mr. Avallone says "see
10       A. Yes.                                        10   below."
11       Q. How would you classify that                 11       A. Yes.
12    statement?                                        12       Q. Right?
13            MR. CHUBAK: Objection to the form         13       A. Yes.
14       of the question. Calls for a legal             14       Q. And so the word "yes" is
15       conclusion.                                    15   capitalized.
16       A. That he was interested in entering          16           Do you, as you sit here today,
17    into a transaction based on those terms.          17   understand that to be Mr. Avallone's response
18       Q. And you asked him if he had any             18   to your question?
19    flexibility; is that true?                        19       A. Correct.
20       A. Correct, that's what the e-mail             20       Q. And the "no" that's capitalized was
21    says.                                             21   also a response to your question?
22       Q. Mr. Avallone then responded to you          22       A. Correct.
23    that same day at 2:04 p.m.; is that correct?      23       Q. So in response to your question
24       A. Yes, it appears to be.                      24   about whether he was offering the paper for
25       Q. And Mr. Avallone said that you had          25   sale at $2.15 million or approximately

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 1                  B. Schwab                            1                B. Schwab
 2    59.72 percent of the face claim amount, did you    2            Did you consider that to be an
 3    understand Mr. Avallone's "yes" to mean that he    3   offer?
 4    was agreeing to sell -- he was offering to sell    4           MR. CHUBAK: Objection to the form
 5    the paper, the Earl of Sandwich claim, at the      5       of the question. Calls for a legal
 6    price listed in your e-mail?                       6       conclusion.
 7       A. Correct.                                     7       A. That, again, that we had a basic
 8            MR. CHUBAK: Objection to the form          8   understanding of an outline of a potential
 9       of the question.                                9   transaction.
10       Q. And so for clarity, as you sit here         10       Q. And what were the terms of that
11    today, do you consider Mr. Avallone's "yes" an    11   basic understanding?
12    offer to sell the Earl of Sandwich claim?         12       A. 59.72 percent or approximately, you
13            MR. CHUBAK: Objection. Calls for a        13   know, $2.15 million.
14       legal conclusion. I also object to the         14       Q. And in your business when you reach
15       form of the question.                          15   an agreement, do you refer to price and amount,
16       A. It would be my understanding that he        16   is that a phrase you use?
17    would engage into a transaction based on those    17       A. Yeah, or a notional. It would be a
18    terms and conditions, subject to.                 18   face amount.
19       Q. And that was your understanding when        19       Q. I want to make sure we are using the
20    you received the e-mail on January 12th?          20   same terms. So the term amount, is that -- do
21       A. Correct.                                    21   you mean price or do you mean what you are
22       Q. And then if you turn back to page           22   actually buying?
23    105, on the same day January 11th at 2:17 p.m.    23       A. Notional being -- or face being the
24    you said "I would have interest at 59.72%         24   face value of the claim, 4 million odd, right,
25    subject to confirming the above."                 25   purchase price being a dollar amount, and a


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 1                B. Schwab                              1                B. Schwab
 2    purchase price percentage being the actual         2   set by Mr. Avallone?
 3    59.72 percent.                                     3           MR. CHUBAK: Objection to the form
 4       Q. And then Mr. Avallone on January             4       of the question. Calls for a legal
 5    11th at 2:38 says he can easily get a letter       5       conclusion.
 6    confirming the nature of the claim. Do you see     6       A. An understanding that -- a basic
 7    that?                                              7   outline of a transaction, that's would
 8       A. Yes.                                         8   that would -- and it would progress from there.
 9       Q. As you sit here today, do you have           9       Q. You testified earlier that this
10    any recollection of what you understood           10   e-mail includes conditions at the buyer's
11    Mr. Avallone to be telling you at the time he     11   discretion.
12    sent you this e-mail?                             12           What does that mean when you use the
13       A. It would be -- the request would            13   phrase "buyer's discretion"?
14    have been for confirmatory due diligence.         14       A. That Cowen, you know, subject to due
15       Q. And you then send Mr. Avallone an           15   diligence, at Cowen's own discretion or
16    e-mail in response at 3:47 p.m.; is that          16   eventually -- or buyer on the back end, the
17    correct?                                          17   downstream parties confirming it is what it is,
18       A. Correct.                                    18   it is what we think it is.
19       Q. And that is where you state that you        19       Q. Does buyer's discretion mean that
20    would be a buyer of the 3.6 million allowed CZR   20   Cowen could decide whether or not to waive
21    claim at 2.15 million or 59.72 percent of the     21   those conditions?
22    allowed face; is that correct?                    22       A. Correct.
23       A. Correct.                                    23           MR. CHUBAK: Objection. Calls for a
24       Q. And did you consider that to be an          24       legal conclusion.
25    offer to purchase the claim at the terms first    25       Q. And you also stated it could be the

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 1                  B. Schwab                            1                B. Schwab
 2    buyer on the back end.                             2   through 11 a.m. eastern time; is that correct?
 3            Could the buyer on the back end            3       A. Correct.
 4    waive those conditions?                            4       Q. And did Mr. Avallone respond prior
 5            MR. CHUBAK: Objection. Calls for a         5   to 11 a.m. eastern time?
 6        legal conclusion.                              6       A. According to the e-mail
 7        A. Subject to a conversation we could          7   correspondence, at 9:47 he said "please forward
 8    work through a process.                            8   draft document."
 9        Q. And if we go to the first page of           9       Q. And that was his acceptance on
10    this document, on the morning of January 12 at    10   January 12th?
11    8:34 a.m. you sent another e-mail to              11           MR. CHUBAK: Objection. Calls for a
12    Mr. Avallone; is that correct?                    12       legal conclusion.
13        A. It appears to be correct.                  13       A. It was him requesting a document
14        Q. And you have no reason to think you        14   based on my prior e-mail.
15    didn't send this e-mail?                          15       Q. And you understood at the time you
16        A. No, correct.                               16   received his e-mail that he was accepting your
17        Q. And in this e-mail you accepted            17   offer?
18    Mr. Avallone's offer; is that correct?            18           MR. CHUBAK: Objection. Calls for a
19            MR. CHUBAK: Objection. Calls for a        19       legal conclusion.
20        legal conclusion.                             20       A. My understanding -- I mean, I can't
21        A. It appears to be, yes.                     21   tell you -- at the point in time it was more
22        Q. And you say "my acceptance of your         22   the it would progress forward and we would
23    offer"; isn't that true?                          23   enter into a conversation.
24        A. Uh-huh. Yes.                               24       Q. So was it your understanding at the
25        Q. And you said your offer was good           25   time you received Mr. Avallone's e-mail on


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 1                 B. Schwab                             1                B. Schwab
 2    January 12th that Mr. Avallone had agreed to       2   you have done?
 3    price and amount regarding the Earl of Sandwich    3          MR. CHUBAK: Objection. Calls for
 4    claim?                                             4       speculation.
 5        A. In concept, yes.                            5          MR. BALBER: You can answer.
 6        Q. And if Mr. Avallone had not agreed          6       A. I mean, most likely I would have
 7    to price and amount regarding the Earl of          7   sent the document anyway and he would have
 8    Sandwich claim, would you have asked               8   shared it with whoever he had to internally
 9    Ms. Rosenblum to forward Thomas a document?        9   share it with to work through a process.
10        A. I would think not. I mean, I'm not         10       Q. Would you have noted in your e-mail
11    in that time period, but if he requested a        11   to him that he had told you that that was a
12    document, I would only ask Gail to send a         12   condition?
13    document if it was a document requested.          13          MR. CHUBAK: Objection. Calls for
14        Q. So you testified you had a                 14       speculation and to the form of the
15    conversation with Mr. Avallone sometime on        15       question.
16    January 12th.                                     16       A. I didn't, so, I mean, probably not.
17        A. There was a conversation. I don't          17   I mean, I don't know.
18    know specifically when it was.                    18       Q. Would you have informed
19        Q. And you testified you don't recall         19   Ms. Rosenblum that there was -- there had been
20    whether or not Mr. Avallone said to you that he   20   a request by the counterparty or a statement by
21    needed approval from any other individual or      21   the counterparty that he needed additional
22    party?                                            22   approvals?
23        A. Correct.                                   23          MR. CHUBAK: Objection. Calls for
24        Q. If Mr. Avallone had told you that he       24       speculation.
25    needed approval from somebody else, what would    25       A. Apparently, no, and probably not.

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 1                 B. Schwab                             1                B. Schwab
 2        Q. Well, how do you say "apparently,           2   or price and amount, what were the traditional
 3    no" when you don't recall --                       3   steps that Cowen would take?
 4        A. Well, because I didn't, I didn't in         4      A. It depended on the type of
 5    the e-mail, and I don't remember him ever          5   transaction. Just depended how the transaction
 6    telling me that he was, so...                      6   evolved. In -- you know, it could be anywhere
 7        Q. Okay. So I think just so we are             7   from go straight to a document, to a trade
 8    clear, you don't recall one way or the other       8   confirm and a document. It depended on the
 9    whether --                                         9   transaction.
10        A. Correct.                                   10           (Continued on next page to include
11        Q. -- Mr. Avallone ever said he needed        11      jurat.)
12    approvals?                                        12
13        A. Correct.                                   13
14        Q. And your e-mails to Gail don't say         14
15    please send a draft document, further approvals   15
16    are necessary; isn't that true?                   16
17        A. Correct.                                   17
18        Q. And as you sit here today, you have        18
19    no reason to believe that Mr. Avallone ever       19
20    told you that he needed approvals from any        20
21    other party; isn't that correct?                  21
22        A. I don't recall.                            22
23        Q. So once you -- in your normal              23
24    practice while you were employed by Cowen, once   24
25    a counterparty had agreed to price and quantity   25



                                                                          20 (Pages 74 to 77)
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     1                                                                       1
                          B. Schwab
     2            Q. What steps, if any, would Cowen take                    2                  CERTIFICATE
     3        to secure a buyer for the downstream?                          3
     4            A. It depended. It depends on the                          4      STATE OF NEW YORK )
     5        buyer and who the party is. In some cases it                   5                ) ss.:
     6        would be a trade confirm. In other cases it                    6      COUNTY OF NASSAU )
     7        would just be a verbal agreement.                              7
     8                MS. LEWIS-GRUSS: Okay. I think we                      8               I, KRISTIN KOCH, a Notary Public
     9            are done. Thank you.                                       9          within and for the State of New York, do
10                    MR. BALBER: Thank you.                                10          hereby certify:
11                    (Time noted: 11:18ï¿½a.m.)                            11               That BRADLY SCHWAB, the witness whose
12                                                                          12          deposition is hereinbefore set forth, was
13                                                                          13          duly sworn by me and that such deposition
14                                  ---------------------                   14          is a true record of the testimony given by
15                                  BRADLY SCHWAB                           15          such witness.
16                                                                          16               I further certify that I am not
17            Subscribed and sworn to before me                             17          related to any of the parties to this
18            this    day of         2018.                                  18          action by blood or marriage; and that I am
19                                                                          19          in no way interested in the outcome of this
20            ---------------------------------------                       20          matter.
21                                                                          21               IN WITNESS WHEREOF, I have hereunto
22                                                                          22          set my hand this 19th day of January, 2018.
23                                                                          23                       -------------------------
24                                                                          24                       KRISTIN KOCH, RPR, RMR, CRR, CLR
25                                                                          25



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 2       --------------------I N D E X------------------                     2   --------------------EXHIBITS-------------------
 3                                                                           3
         WITNESS               EXAMINATION BY              PAGE                  NUMBER                          PAGE LINE
 4                                                                           4
                                                                             5   Exhibit 86
         BRADLY SCHWAB                 MR. CHUBAK            5
 5                                                                               E-mail dated January 16, 2017,
                                                                             6   Bates stamped Confidential
                        MS. LEWIS-GRUSS              64
 6                                                                               CSI_00000304 through Confidential
 7                                                                           7   CSI_00000316......................... 42 23
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 8                                                                           8   Exhibit 87
         NUMBER                        PAGE LINE
 9                                                                               E-mail dated January 17, 2017,
                                                                             9   Bates stamped Confidential
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10       Bradly Schwab LinkedIn printout...... 5 25                              CSI_00000344 through Confidential
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11       Exhibit 81                                                         11   Exhibit 88
         E-mail dated January 11, 2017,
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14       Exhibit 82                                                         14   Exhibit 89
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15                                                                               E-mail dated January 18, 2017,
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17       Exhibit 83                                                         17   Exhibit 90
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18       Bates stamped Confidential                                         18   Bates stamped Confidential
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19       CSI_00000122......................... 38 20                        19   CSI_00000427......................... 52 22
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21       Bates stamped Confidential                                         21   Bates stamped Confidential
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22       CSI_00000224......................... 40 15                        22   CSI_00000536......................... 53 15
23       Exhibit 85                                                         23   Exhibit 92
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24       Bates stamped Confidential                                         24   Bates stamped WBA-0000145 through
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25       CSI_00000253......................... 41 18                        25




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